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 5
     Attorney for Defendant,
 6   MELODY CRYDER

 7
                                IN THE UNITED STATES DISTRICT COURT
 8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:08-CR-282-EJG

11               Plaintiff,                              STIPULATION AND ORDER

12        vs.                                            DATE: February 6, 2009
                                                         TIME: 10:00 AM
13   MELODY CRYDER,                                      JUDGE: Hon. Edward Garcia

14               Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Mike

17   Beckwith, Assistant U.S. Attorney, and defendant Melody Cryder, by and through his attorney,

18   Dan Koukol, that the sentencing hearing of Febuary 6, 2009 be vacated and that the sentencing

19   hearing be set for February 13, 2009 at 10:00 AM.

20          //

21          //

22          //

23          //

24          //

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                                               -1-
      Case 2:08-cr-00282-WBS Document 40 Filed 02/05/09 Page 2 of 2


 1   This continuance is being requested because defense counsel is scheduled to be in San Mateo

 2   County at 8:30 AM on February 6, 2009.

 3

 4
     DATED: FEBRUARY 3, 2009                          Respectfully submitted,
 5

 6                                      /s/ DAN KOUKOL
                                        _________________________________
 7                                      DAN KOUKOL
                                        Attorney for defendant Melody Cryder
 8

 9
     DATED: FEBRUARY 3, 2009                          Respectfully submitted,
10

11                                      /s/ DAN KOUKOL FOR
                                        _________________________________
12                                      Mike Beckwith
                                        Assistant U.S. Attorney
13
     IT IS SO ORDERED
14
     DATED: February 5, 2009
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16
                                 _/s/ Edward J. Garcia
17                               Edward Garcia
                                 UNITED STATES DISTRICT JUDGE
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